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 So Ordered.

 Signed this 10 day of December, 2024.



                                                  _______________________________
                                                     Wendy A. Kinsella
                                                     United States Bankruptcy Judge




  UNITED STATES BANKRUPTCY COURT
  NORTHERN DISTRICT OF NEW YORK

  In re
                                                      Case No. 24-30465
           Thomas William Pritchard,                  Chapter 7

                         Debtor.


                         ORDER OF DISMISSAL WITH PREJUDICE

          This Court having entered an Order Modifying Order Approving Payment of Filing Fee in

 Installments, Discharging the Order to Show Cause and Denying Debtor’s Request for

 Reconsideration on September 9, 2024 (the “Order” at Doc. 71) inter alia, directing Debtor,

 Thomas William Pritchard (“Debtor”) to pay the filing fee of $338.00 in installments with the full

 filing fee payment to be made by December 2, 2024, and the Order also providing that in the event

 the full filing fee payment is not made by December 2, 2024 the case will be dismissed with

 prejudice pursuant to 11 U.S.C. §§ 109(g)(1) and 707(a)(2) and Fed. R. Bankr. P. 1017(b)(1), and

 Debtor having failed to comply with the terms of the Order by not paying the filing fee in full by
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 December 2, 2024, and the Court being fully advised of the premises and due deliberation having

 been had thereon, it is accordingly,

         ORDERED, ADJUDGED AND DECREED, that the case be and hereby is dismissed with

 prejudice pursuant to 11 U.S.C. §707(a)(2); and it is further

         ORDERED, ADJUDGED AND DECREED, that pursuant to 109(g), the Debtor is

 prohibited from filing another case on or before 180 days from the date of entry of this Order; and

 it is further

         ORDERED, ADJUDGED AND DECREED, that the Chapter 7 Trustee is hereby directed

 to file a report of any receipts and disbursements; and it is further

         ORDERED, ADJUDGED AND DECREED, that the provision of 11 U.S.C. § 362(a)

 staying certain acts and proceedings against the Debtor and the property of the Debtor is no longer

 in effect and that the creditors may now look directly to the Debtor for satisfaction of any balances

 owing on their claims; and it is further

         ORDERED, ADJUDGED AND DECREED, that the Clerk is directed to serve a copy of

 this Order on Debtor by mail.


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